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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 JANEL GRANT,                                      :
                                                   :
                Plaintiff,                         : Case No.: 3:24-cv-00090-SFR
                                                   :
 vs.                                               :
                                                   :
 WORLD WRESTLING                                   :
 ENTERTAINMENT, INC. n/k/a WORLD                   :
 WRESTLING ENTERTAINMENT, LLC;                     :
 VINCENT K. MCMAHON; and JOHN                      : March 7, 2025
 LAURINAITIS,                                      :
                                                   :
                Defendants.                        :

            PLAINTIFF’S REPLY MEMORANDUM OF LAW IN FURTHER
       SUPPORT OF HER MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        Pursuant to Rules 15(a)(2) and 16(b)(4) of the Federal Rules of Civil Procedure and Local

Civil Rule 7(d), Plaintiff Janel Grant (“Plaintiff” or “Ms. Grant”), by and through her undersigned

counsel, respectfully submits this consolidated reply brief in further support of her motion for leave

to amend her Complaint (ECF No. 94) and to address the arguments raised in Defendants’

Memoranda in Opposition to her Motion (ECF Nos. 98, 99, 100).

        Following an extended stay of this action at the request of federal law enforcement,

Plaintiff has moved to amend her pleading to describe with greater particularity the horrific sexual,

physical, and emotional abuse she experienced at the hands of Defendants and describe the

predatory and dangerously coercive environment at WWE and within its support system that

rewarded enablers at all levels of the organization who turned a blind eye to Defendants’

exploitation. She also seeks to inform the Court of material factual developments that occurred

during the stay—including, among other things, the Securities and Exchange Commission’s

finding that McMahon engaged in a criminal scheme to cover up his misdeeds and mislead
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shareholders, and that the NDA at issue here was at the heart of that scheme. These are all proper

purposes for Plaintiff to amend her pleading under the Federal Rules of Civil Procedure, and the

resumption of this case is a proper time to amend.

       Defendants are not entitled to take a red pencil to the complaint and suppress damaging

facts. Defendants McMahon (ECF No. 98) and WWE (ECF No. 100) object to Plaintiff’s phrasing

(ECF No. 98 at § I.C; ECF No. 100 at §§ I-III) and claim the amended Complaint is prejudicial

because their own bad acts have come to light (ECF No. 98 at § I.D). Defendants’ gripes and

grievances are not legally cognizable objections that should prevent the Court from the benefit of

an Amended Complaint that clarifies key issues and brings the facts up to date to account for the

lengthy stay, which Plaintiff did not initiate.

       Defendants try to gloss over the permissive standard for leave to amend. They are well

aware that such leave is to be freely granted and Ms. Grant has demonstrated good cause. Her

amended complaint addresses key factual developments that were unavailable when she filed her

initial complaint, sheds further light on the illegal and coercive non-disclosure agreement

Defendants hope to invoke to keep her out of court, and pleads her claims with greater particularity.

Plaintiff has shown good cause, her motion was brought without undue delay, and her proposed

amendments are proper. Plaintiff respectfully requests that this Court grant her motion for leave

to file her First Amended Complaint.

I.     ARGUMENT

       A.      Plaintiff’s Proposed Amendments Are Proper Under Federal Rules 15 and 16.

       Plaintiff is ultimately the master of the complaint. As set forth in her Motion, the factors

set out in Rules 15 and 16 each weigh in favor of granting leave to amend here.

       Rule 15(a)(2) provides that a party may amend its pleading on consent or with the court’s

leave, and “[t]he court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).


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In evaluating a request for leave to amend, the Court may consider whether there has been any

undue delay, bad faith, dilatory motive, undue prejudice, and may also consider whether the

amendment would be futile.       See Edwards v. N. Am. Power & Gas, LLC, No. 3:14-CV-

1714(VAB), 2016 WL 3093356, at *2 (D. Conn. June 1, 2016). “The rule in this Circuit has been

to allow a party to amend its pleadings in the absence of a showing by the nonmovant of prejudice

or bad faith.” Block v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993).

       Where “a scheduling order governs amendments to the complaint, the lenient standard

under Rule 15(a), which provides leave to amend shall be freely given, must be balanced against

the requirement under Rule 16(b) that the Court’s scheduling order shall not be modified except

upon a showing of good cause.” Holmes v. Grubman, 568 F.3d 329, 334-35 (2d Cir. 2009).

“[G]ood cause ‘depends on the diligence of the moving party.’” FloodBreak, LLC v. Art Metal

Indus., LLC, 2022 WL 657631, at *6 (D. Conn. Mar. 4, 2022) (quoting Grochowski v. Phoenix

Const., 318 F.3d 80, 86 (2d Cir. 2003). However, the Second Circuit has routinely held that the

“good cause” standard of Rule 16(b) must be balanced against the lenient standard of Rule 15(a).

See Zuppardi’s Appizza, Inc. v. Tony Zuppardi’s Appizza, LLC, No. 3:10-cv-1363(RNC), 2012

WL 1067652, at *1 (D. Conn. Mar. 30, 2012). Where the deadline to complete discovery has not

yet passed, courts in this District have been inclined not to require a showing of good cause. See,

e.g., Gustovich v. Town of Greenwich, No. 3:14-cv-01242(CSH), 2015 WL 5251930, at *4 (D.

Conn. Sept. 8, 2015) (“In these circumstances, the Second Circuit directs that motions to amend

the pleadings are to be governed by the lenient standard of Rule 15(a) – not the ‘good cause’

standard of Rule 16(b)”); Phoomahal v. Ridgehaven Village, 2007 WL 2292741, at *3 (E.D.N.Y.

Aug. 9, 2007) (where plaintiffs could not have known the factual predicate for claims against new




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parties prior to the deadline in the case management order, the court instead applied the Rule 15

standard). Here, discovery has not even commenced, let alone been completed.

       Plaintiff has met the standard under either Rule 15(a) or 16(b). Even assuming that Ms.

Grant must establish good cause under Rule 16(b), “the primary consideration is whether the

moving party can demonstrate diligence.” Kassner v. 2nd Avenue Delicatessen Inc., 496 F.3d 229,

244 (2d Cir. 2007). Plaintiff has shown good cause to amend her complaint, as her amendments

are non-prejudicial, timely, and offered in good faith. and none of Defendants’ arguments rebut

that showing or justify denying leave to amend, which is freely granted.

       B.      Defendants’ Conclusory Claims of Prejudice Are Not Persuasive.

       Defendants’ perfunctory claims of prejudice fall short. WWE fails to identify the supposed

prejudice it faces, stating “Grant’s motion does not satisfy even Rule 15’s more permissive

standard for amending pleadings, let alone Rule 16’s more demanding good cause standard”

without specifying. (ECF No. 100 at 5.) This conclusory statement is facially insufficient to

overcome Plaintiff’s good cause to amend.

       Defendant McMahon broadly claims he has been prejudiced by Plaintiff’s amendment

because Ms. Grant purportedly “exploited the courts and the media to publicize a false narrative

and information contractually required to remain confidential” under an illegal contract. (ECF No.

98 at 19.) In support of this assertion, McMahon cites news articles from September 2024—four

months before leave to amend was sought, and all of which occurred during the stay. (ECF No.

98 at 10 n.8.) McMahon’s stale examples are telling: any reputational harm McMahon claims is

no greater now than when Plaintiff filed her initial complaint.

       Procedurally, Defendants will not be prejudiced by proceeding with the Amended

Complaint. Defendants have not yet filed responsive pleadings or dispositive motions in this

action, nor have they provided discovery, nor participated in a 26(f) conference. Defendants’


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renewed Motions to Compel Arbitration were denied without prejudice on January 16, 2025. (See

ECF Nos. 85-87; ECF No. 93.) Defendants now argue that Plaintiff’s amendments “have no

bearing on the validity and enforceability of the agreement and its arbitration provision,” are

“futile,” and are otherwise irrelevant (see ECF Nos. 98-100), yet McMahon complains that “the

inevitable delay any such amendment would cause prejudices Defendant McMahon by further

postponing the resolution of his motion that seeks to have this dispute adjudicated in the agreed

upon forum” (ECF No. 98 at 4). By their own reckoning, Defendants expect to refile their motions

with little to no revision, should they choose to do so. If Defendants truly believe her revisions

are irrelevant, there will certainly be no undue delay or prejudice as result of Ms. Grant’s amended

complaint.

       C.      Plaintiff Timely Sought Leave to Amend After the Stay Was Lifted.

       Defendants’ complaints about the timing of the motion for leave to amend are similarly

unavailing.   Plaintiff’s amendments are timely in the context of this litigation. Defendant

McMahon handwaves the federal government’s stay while it investigated his criminal conduct as

an “inexplicable” delay—an investigation he certainly knew about, as a target. (ECF No. 98 at 5

(“Plaintiff’s Motion offers no explanation for her delay in filing a Proposed Amended Complaint

more than a year into this case.”).)

       Defendants also attempt to obscure the timeline, but the facts are clear: the federal

government approached the parties regarding a proposed stay prior to their formal request, which

was entered in June 2024. (See ECF No. 94-1 at 2.) As Ms. Grant addressed in her motions for a

status conference (ECF Nos. 88, 90), the language of the Stay Order and subsequent Orders created

uncertainty about whether the lift of the stay was self-executing. (See ECF No. 94-1 at § II.B;

ECF No. 90 at 2-3, 5.)




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        Counsel for Ms. Grant reached out to counsel for Defendants and proposed a joint briefing

schedule, and Defendants flatly refused to cooperate. (ECF No. 90 at 3.) Plaintiff then asked

Judge Meyer for guidance on deadlines (ECF No. 88), but he sadly passed away before ruling on

the pending motions. It is disappointing that Defendants would seize on the sudden and tragic loss

of Judge Meyer for a litigation advantage.

        Defendants also repeat the same futile arguments on timeliness from their oppositions to

Ms. Grant’s motion renewed motion of status conference. (See ECF Nos. 91-92.) After reviewing

those arguments, this Court ruled that “Plaintiff may move for leave to file an amended complaint

on or before January 31, 2025.” (ECF No. 93.) It is not disputed that Plaintiff’s proposed

Amended Complaint and motion for leave was timely filed on that date. (See ECF No. 94, filed

January 31, 2025.) To the extent Defendants rely on the Court’s standing Order on Pretrial

Deadlines (ECF No. 7) as their basis for arguing that Plaintiff’s amendment is untimely,

Defendants do not candidly acknowledge for the Court that such Order is only still in place because

they have refused to participate in a 26(f) conference as required by the Local Rules.

        D.      Plaintiff’s Proposed Amendments Are Proper and Are Offered for The
                Purpose of Informing this Court.

        Defendants cite no case law or rule—nor could they—which limits the substance Ms. Grant

can include in an amended complaint. The relevant standard here is showing good cause to amend,

see Holmes, 568 F.3d at 335, not a justification that good cause exists for each and every paragraph

changed in the redline. Taken as a whole, Ms. Grant’s amendments address material developments

that were unavailable or unknown to her at the time of her filing the original complaint, occurred

during the pendency of the stay, or came promptly after certain information was made public.1



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 As Defendants admit, Ms. Grant moved quickly to incorporate amendments regarding the SEC Order just three
weeks after the Government disclosed its findings. (ECF No. 98 at 9; ECF No. 100 at 5.)


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The substance of the amendments will better inform this Court of relevant developments and assist

in its assessment of Defendants’ procedural arguments against Ms. Grant deserving to have her

day in court.

                1.     The Department of Justice Investigation.

       In their Opposition briefs, Defendants claim the content of Ms. Grant’s amendment “was

known or available to Grant before the deadline to amend” (ECF No. 100 at 9) and consists of

“stale information regarding events that had already taken place and were known to (or conjured

by) Plaintiff at the time of her original filing” (ECF No. 98 at 7). While certain facts were available

at the time the original complaint was filed, Ms. Grant tried to exercise caution with respect to

certain subjects to ensure that her civil suit would not frustrate the DOJ’s efforts. Now that the

stay has been lifted, Plaintiff is comfortable providing a fuller picture of the case, including by

identifying abusers and enablers who facilitated her exploitation and additional details surrounding

her abuse.

                2.     The SEC Order.

       Defendants claim “[t]he SEC Order is irrelevant to Plaintiff’s claims” and “[t]he Order

does not speak to coercion” or “advance Grant’s claims.” (ECF No. 98 at 13-14; ECF No. 100 at

6.) But the SEC Order directly references the agreement in dispute in this case. A criminal

investigation implicating the facts underlying this case and an order speaking to its resolution are

undeniably relevant to this Court. Further, the object of the agreements cited in the SEC Order

was to conceal human trafficking. The SEC Order evidences that McMahon sought to silence

multiple women, not just Plaintiff, in his scheme to conceal his predatory behaviors and avoid

accountability from the Company’s board, potential merger partners, future shareholders, and the

public. These facts are material to this Court’s assessment of whether the illegal NDA agreement



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can be enforced. Defendants hope to obscure these facts, or at least avoid having to address them

while operating under the Amended Complaint, while using the arbitration clause contained in that

illegal agreement as both a sword and shield in this case.

                  3.   Admissions from Dr. Colker and Peak Wellness.

       Since the initial complaint was filed, Dr. Colker and Peak Wellness’s counsel confirmed

that they indeed withheld documents from Ms. Grant, as she alleged in her bill of discovery

complaint filed in the Connecticut Superior Court in July 2024. (ECF No. 94-1 at 6.) This doctor

was paid for by Ms. Grant’s abuser, was privy to her relationship with Defendant McMahon, and

administered unknown treatments to her during the time period at issue—and now he is

withholding her medical records documenting those treatments and the fact that Defendant

McMahon directed them. This Court deserves the benefit of up-to-date facts regarding the role

this doctor played in McMahon’s pattern of coercion and control.

                  4.   Further Evidence of Plaintiff’s Abuse.

       The summary effect of Plaintiff’s amendments, including the specific additions cited here,

is to explain the extreme and prolonged abuse Plaintiff was withstanding with greater particularity.

The coercion surrounding the agreement and arbitration clause is undeniably relevant to this

Court’s assessment of Defendants’ venue arguments. Amending a pleading to “add[] allegations

regarding the invalidity of the arbitration agreement” in response to a motion to compel arbitration

is an appropriate exercise of a Plaintiff’s amendment rights under Rule 15(a)(1) or (2). See

DeFrancesco v. Mirador Real Est., No. 18-CV-4032 (VSB), 2022 WL 203147, at *3 (S.D.N.Y.

Jan. 24, 2022).




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       It is unsurprising that Defendants wish to avoid confronting the uncomfortable truths Ms.

Grant raises in her Complaint. However, nothing Defendants raise in their Objections overcomes

the liberal presumption in Plaintiff’s favor here. Leave to amend should be granted.

II.    CONCLUSION

       For the reasons set forth herein and in Plaintiff’s Motion for Leave to Amend, Plaintiff

respectfully requests leave to file her First Amended Complaint as her operative pleading, and any

other or further relief that this Court deems just and proper.



                                           PLAINTIFF JANEL GRANT


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                                  CERTIFICATE OF SERVICE

        This is to certify that on March 7, 2025, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system and by mail to all parties

that are unable to accept electronic filing. Parties may access this filing through the Court’s

electronic system.


                                                /s/ Erica O. Nolan
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